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6    Attorneys for Debtors and Debtors in Possession
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8
                                 UNITED STATES BANKRUPTCY COURT
9                                NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
10
11   In re:                                            Bankruptcy Case No. 19-30088 (DM)

12   PG&E CORPORATION,                                 Chapter 11

13            - and -                                  (Lead Case)

14   PACIFIC GAS AND ELECTRIC                          (Jointly Administered)
     COMPANY,
15                       Debtors.                      CERTIFICATE OF NO OBJECTION
                                                       REGARDING MONTHLY FEE STATEMENT
16   ¨ Affects PG&E Corporation                        OF KELLER & BENVENUTTI LLP FOR
     ¨ Affects Pacific Gas and Electric Company        ALLOWANCE AND PAYMENT OF
17   ý Affects both Debtors                            COMPENSATION AND REIMBURSEMENT
18                                                     OF EXPENSES FOR THE PERIOD OF
     * All papers shall be filed in the Lead
     Case,No. 19-30088 (DM).                           APRIL 1, 2019 THROUGH APRIL 30, 2019
19
                                                       [Re: Dkt No. 2435]
20
21                                                     Objection Deadline: June 27, 2019
                                                                           4:00 p.m. (Pacific Time)
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 Case: 19-30088         Doc# 2784    Filed: 06/28/19    Entered: 06/28/19 10:31:36     Page 1 of
                                                 3
1    THE MONTHLY FEE STATEMENT

2           On June 6, 2019, Keller & Benvenutti LLP (“Keller & Benvenutti” or the “Applicant”),
3    attorneys for PG&E Corporation and Pacific Gas and Electric Company (the “Debtors”), filed its

4    Monthly Fee Statement of Keller & Benvenutti LLP for Allowance and Payment of Compensation and
5    Reimbursement of Expenses for the Period of April 1, 2019 Through April 30, 2019 [Docket No. 2435]
6    (the “Monthly Fee Statement”), pursuant to the Order Pursuant to 11 U.S.C §§ 331 and 105(a) and
7    Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim Compensation and
8    Reimbursement of Expenses of Professionals, entered on February 27, 2019 [Docket No. 701] (the
9    “Interim Compensation Procedures Order”).
10          The Monthly Fee Statement was served as described in the Certificate of Service of Alain B.
11   Francoeur filed on June 11, 2019 [Dkt. No. 2483]. The deadline to file responses or oppositions to the
12   Monthly Fee Statement was June 27, 2019, and no oppositions or responses have been filed with the
13   Court or received by the Applicant. Pursuant to the Interim Compensation Procedures Order, the above
14   captioned debtors and debtors in possession are authorized to pay the Applicant eighty percent (80%) of
15   the fees and one hundred percent (100%) of the expenses requested in the Monthly Fee Statement upon
16   the filing of this certification without the need for a further order of the Court. A summary of the fees
17   and expenses sought by the Applicant is annexed hereto as Exhibit A.
18   DECLARATION OF NO RESPONSE RECEIVED
19          The undersigned hereby declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that:
20                  1.      I am an associate of the firm of Keller & Benvenutti LLP, co-counsel for the
21   Debtors.
22                  2.      I certify that I have reviewed the Court’s docket in this case and have not received
23   any response or opposition to the Monthly Fee Statement.
24                  3.      This declaration was executed in San Francisco, California.

25   Dated: June 28, 2019                                  KELLER & BENVENUTTI LLP
26
                                                           By:    /s/ Dara L. Silveira________
27                                                                 Dara L. Silveira

28                                                         Attorneys for Debtors and Debtors in Possession


 Case: 19-30088      Doc# 2784       Filed: 06/28/19     Entered: 06/28/19 10:31:36        Page 2 of
                                                 3
1                                                 Exhibit A

2                                       Professional Fees and Expenses
                                           Monthly Fee Application
3

4     Applicant         Fee         Total     Total        Objection      Fees        Expenses      Amount of
                   Application      Fees    Expenses       Deadline    Authorized    Authorized     Holdback
5                    Period,      Requested Requested                  to be Paid   to be Paid at     Fees
                   Filing Date,                                          at 80%         100%
6                  Docket No.

7     Keller &       Third        $271,250   $2,705.34    06.27.2019   $217,000      $2,705.34       $54,250
     Benvenutti     Monthly
8      LLP
                   (04.01.19 to
9                   04.30.19)
      (Attorneys
     for Debtors
10   and Debtors   [Dkt. 2435;
          in          filed
11   Possession)    06.06.19]

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 Case: 19-30088     Doc# 2784       Filed: 06/28/19      Entered: 06/28/19 10:31:36       Page 3 of
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